Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 1 of 22 Page ID #:133



  1   Mike Arias (CSB #115385)
       mike@asstlawyers.com
  2   Alfredo Torrijos (CSB #222458)
       alfredo@asstlawyers.com
  3   ARIAS SANGUINETTI WANG & TORRIJOS, LLP
      6701 Center Drive West, 14th Floor
  4   Los Angeles, California 90045
      Telephone: (310) 844-9696
  5   Facsimile: (310) 861-0168
  6   Steven L. Woodrow*
        swoodrow@woodrowpeluso.com
  7   Patrick H. Peluso*
        ppeluso@woodrowpeluso.com
  8   Taylor T. Smith*
        tsmith@woodrowpeluso.com
  9   WOODROW & PELUSO, LLC
      3900 East Mexico Avenue, Suite 300
 10   Denver, Colorado 80210
      Telephone: (720) 213-0675
 11   Facsimile: (303) 927-0809
 12   *Pro Hac Vice
 13   Attorneys for Plaintiff and the alleged Classes
 14                        UNITED STATES DISTRICT COURT
 15         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 16
      Edwardo Munoz, individually and on         Case No. 2:18-cv-03893-RGK-AGR
 17   behalf of all others similarly situated,
 18                             Plaintiff,
                                                 PLAINTIFF EDWARDO MUNOZ’S
 19          v.                                  RESPONSE TO DEFENDANT’S
                                                 MOTION TO DISMISS PLAINTIFF’S
 20   7-Eleven, Inc., a Texas corporation,       FIRST AMENDED COMPLAINT
 21                             Defendant.       Date: August 27, 2018
                                                 Time: 9:00 a.m.
 22                                              Place: Courtroom 850
 23
 24
 25
 26
 27
 28


                                                 i
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 2 of 22 Page ID #:134




  1                                          TABLE OF CONTENTS
  2   TABLE OF AUTHORITIES ................................................................................ iii
  3   I.      INTRODUCTION .........................................................................................1
  4   II.     STATEMENT OF FACTS ...........................................................................1
  5   III.    ARGUMENT .................................................................................................3
  6           A.      7-Eleven’s Disclosure is riddled with extraneous information and
  7                   is not, as a matter of fact or law, set forth “in a document that
  8                   consists solely of the disclosure.” .......................................................3
  9                   1.       7-Eleven’s Disclosure unlawfully combines the disclosures
 10                            for consumer reports with the disclosures required for
 11                            investigative consumer reports. ...............................................5
 12                   2.       7-Eleven’s Disclosure also improperly includes extraneous
 13                            acknowledgement, statements, and agreements. .................12
 14           B.      7-Eleven fails to address Munoz’s allegations that the Disclosure
 15                   is not “clear and conspicuous.” ........................................................15
 16           C.      Given that Plaintiff has stated a valid claim under the FCRA, his
 17                   UCL claim should remain as well. ...................................................17
 18   IV.     CONCLUSION ............................................................................................17
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
      PLAINTIFF’S RESPONSE IN OPPOSITION
      TO DEFENDANT’S MOTION TO DISMISS                         - ii -
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 3 of 22 Page ID #:135




  1                                         TABLE OF AUTHORITIES
  2   Anderson v. Wells Fargo Bank, N.A., 266 F.Supp.3d 1175 (D.S.D. 2017) .............12
  3   Ashcroft v. Iqbal, 556 U.S. 662 (2009) ......................................................................3
  4   Avila v. NOW Health Group, Inc., No. 14 C 1551, 2014 WL 3537825 (N.D. Ill.
  5                   July 17, 2014)......................................................................................13
  6   Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2008) ...............................................3
  7   Case v. Hertz Corp., No. 15-CV-02707-BLF, 2016 WL 1169197 (N.D. Cal. Feb.
  8                   26, 2016) .......................................................................................12, 13
  9   Gillespie v. Equifax Information Services, L.L.C.,
 10                   484 F.3d 938 (7th Cir. 2007)...............................................................16
 11   Harris v. Home Depot U.S.A., Inc., 114 F.Supp.3d 868 (N.D. Cal. 2015)..............13
 12   Kelchner v. Sycamore Manor Health Center, 305 F.Supp.2d 429 (M.D. Penn.
 13                   2004) .....................................................................................................6
 14   Mix v. Asurion Ins. Servs. Inc., No. CV-14-02357-PHX-GMS, 2016 WL 7229140
 15                   (D. Ariz. Dec. 14, 2016)......................................................................12
 16   Newton v. Bank of America, Case No. 2:14-cv-03714-CBM-MRWx, 2015 WL
 17                   10435907 (C.D. Cal. May 12, 2015)...................................................15
 18   Poinsignon v. Imperva, Inc., Case No. 17-cv-05653-EMC, 2018 WL 1709942
 19                   (N.D. Cal. Apr. 9, 2018) .....................................................................11
 20   Singleton v. Domino’s Pizza, LLC, Civil Action No. DKC 11-1823, 2012 WL
 21                   245965 (D. Md. Jan. 25, 2012) ...........................................................13
 22   Syed v. M-I, LLC, 853 F.3d 492 (9th Cir. 2017)............................................4, 13, 15
 23   Walker v. Fred Meyer, Inc., 2018 WL 2455915 (D. Ore. May 7, 2018) .................14
 24   STATUTES, RULES, SECONDARY SOURCES
 25   Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. ...................................... passim
 26   FTC Advisory Opinion to Willner (03-25-99) ......................................................6, 8
 27
 28
      PLAINTIFF’S RESPONSE IN OPPOSITION
      TO DEFENDANT’S MOTION TO DISMISS                            - iii -
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 4 of 22 Page ID #:136




  1   I.    INTRODUCTION
  2         7-Eleven, Inc.’s background check disclosure (“Disclosure”) is riddled with
  3   extraneous information in violation of the Fair Credit Reporting Act, 15 U.S.C. §
  4   1681, et seq. (“FCRA” or “Act”). Yet rather than acknowledge this misstep—let
  5   alone take steps to fix it—7-Eleven seeks a quick exit from the case, moving to
  6   dismiss on the grounds that, supposedly as a matter of law, none of the extraneous
  7   information present in its Disclosure runs afoul of the Act’s “standalone” disclosure
  8   requirement.
  9         Fortunately for Plaintiff Edwardo Munoz (“Munoz” or “Plaintiff”) and other
 10   applicants and employees who’ve been subjected to 7-Eleven’s faulty Disclosure,
 11   Defendant’s attacks lack merit. Unable to show how its Disclosure honors the
 12   FCRA’s plain language that the disclosure be made “in a document consisting solely
 13   of the disclosure,” 7-Eleven instead just disagrees with the allegations that the
 14   extraneous information present in its Disclosure violate the FCRA. In the process, 7-
 15   Eleven impermissibly views the allegations in a light most favorable to itself,
 16   discounts long-standing FTC guidance (cautioning against the mixing of “consumer
 17   report” disclosures with “investigative consumer report” disclosures and other
 18   extraneous information), and ignores the harm to applicants and employees, as
 19   recognized by Congress, that flows from information overload caused by extraneous
 20   information.
 21         7-Eleven also fails to address Plaintiff’s allegations that Defendant violates the
 22   FCRA’s requirement that the Disclosure be “clear and conspicuous.” 7-Eleven’s
 23   Disclosure is mired in fine print packed onto a single page, contains duplicative and
 24   irrelevant statements, and serves to confuse the average applicant.
 25         Accordingly, and as set forth more fully below, Munoz has plausibly stated a
 26   claim for relief, and 7-Eleven’s motion to dismiss should be denied.
 27   II.   STATEMENT OF FACTS
 28
      PLAINTIFF’S RESPONSE IN OPPOSITION
      TO DEFENDANT’S MOTION TO DISMISS           -1-
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 5 of 22 Page ID #:137




  1         7-Eleven is a Texas corporation based in Irving, Texas. (Compl. ¶ 9.)
  2   Defendant has thousands of employees and job applicants. (Compl. ¶ 23.) During its
  3   employment process, 7-Eleven presents its applicants and employees with a
  4   document entitled “Disclosure Regarding Background Investigation.” (Compl. ¶ 16.)
  5   The Disclosure includes unnecessary extraneous information, which renders the
  6   document confusing to the average consumer. (Compl. ¶¶ 6, 17.)
  7         In January 2018, Plaintiff Munoz applied for a position with 7-Eleven at a
  8   store in Los Angeles, California. (Compl. ¶ 14.) During the application process,
  9   Plaintiff was required to complete various acknowledgments of company disclosures
 10   including the disclosure regarding background and criminal history. (Compl. ¶ 15.)
 11         The Disclosure presented to Plaintiff was riddled with additional information,
 12   including disclosures for both a consumer report and an investigative consumer
 13   report (including details regarding the nature and scope of any investigation), and
 14   other extraneous information. (Compl. ¶ 16.) In addition to the investigative
 15   consumer report disclosures, the Disclosure also contained: (1) extensive details
 16   about Sterling Talent Solutions, its privacy policy, and a reservation of rights
 17   regarding prospective consumer reporting agencies, (2) acknowledgments that the
 18   signer understands that by signing the disclosure 7-Eleven may revoke a previously-
 19   extended offer of employment, (3) an authorization purporting to grant “any party or
 20   agency contacted by 7-Eleven” to furnish whatever information that 7-Eleven
 21   requests, and (4) other repetitive and unnecessary information. (Id.) The inclusion of
 22   such extraneous information renders the Disclosure confusing to Munoz and the
 23   average consumer such as Plaintiff. (Compl. ¶¶ 6, 17.) Shortly after being hired by 7-
 24   Eleven, Plaintiff was fired based on information procured as a result of the
 25   disclosure. (Compl. ¶ 19.)
 26         Given that such extraneous information nakedly violates the FCRA’s dual
 27   requirements that the disclosure be both “clear and conspicuous” and in a “document
 28
      PLAINTIFF’S RESPONSE IN OPPOSITION
      TO DEFENDANT’S MOTION TO DISMISS           -2-
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 6 of 22 Page ID #:138




  1   that consists solely of the disclosure” Munoz filed the instant lawsuit. As set forth
  2   below, none of 7-Eleven’s arguments for dismissal have merit and the Court should
  3   deny the Motion to Dismiss.
  4   III.     ARGUMENT
  5            “To survive a motion to dismiss, a complaint must contain sufficient factual
  6   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
  7   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). “A claim has facial
  8   plausibility when the plaintiff pleads factual content that allows the court to draw the
  9   reasonable inference that the defendant is liable for the misconduct alleged.” Id. “[A]
 10   complaint attached by a Rule 12(b)(6) motion to dismiss does not need detailed
 11   factual allegations” but requires “more than labels and conclusions, and a formulaic
 12   recitation of the elements of a cause of action will not do.” Bell Atlantic Corp. v.
 13   Twombly, 550 U.S. 544, 555 (2008) (citations omitted).
 14            As set forth below, Munoz has stated a plausible claim for relief and 7-
 15   Eleven’s Motion to Dismiss, which effectively seeks judgment on the pleadings in its
 16   favor, should be denied.
 17            A.    7-Eleven’s Disclosure is riddled with extraneous information and is
 18                  not, as a matter of fact or law, set forth “in a document that consists
 19                  solely of the disclosure.”
 20            7-Eleven’s argument-in-chief is that none of the allegedly extraneous
 21   information detailed in the Complaint prevents the Disclosure from “standing alone.”
 22   To hear 7-Eleven tell it, all of the extra notices supposedly enhance the background
 23   check disclosure such that it cannot be said to violate the Act. Such assertions fall
 24   apart.
 25            The FCRA states in relevant part:
 26
 27
 28
      PLAINTIFF’S RESPONSE IN OPPOSITION
      TO DEFENDANT’S MOTION TO DISMISS             -3-
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 7 of 22 Page ID #:139




  1         Except as provided in subparagraph (B), a person may not procure a
  2         consumer report, or cause a consumer report to be procured, for
  3         employment purposes with respect to any consumer, unless--
  4                (i) a clear and conspicuous disclosure has been made in
  5                writing to the consumer at any time before the report is
  6                procured or caused to be procured, in a document that
  7                consists solely of the disclosure, that a consumer report
  8                may be obtained for employment purposes; and
  9                (ii) the consumer has authorized in writing (which
 10                authorization may be made on the document referred to
 11                in clause (i)) the procurement of the report by that
 12                person.
 13   15 U.S.C. § 1681b(b)(2)(A) (emphasis added). In analyzing this “stand-alone”
 14   disclosure requirement, the Ninth Circuit explained that the term “solely” should be
 15   given its ordinary meaning “‘[a]lone; singly’ or ‘[e]ntirely; exclusively.’” Syed v. M-
 16   I, LLC, 853 F.3d 492, 500 (9th Cir. 2017) (citing American Heritage Dictionary of
 17   the English Language 1666 (5th ed. 2011)). Further, the only exception to the stand-
 18   alone disclosure rule is that an employer may include the consumer’s authorization
 19   on the disclosure. See Syed, 853 F.3d at 501 (“[T]he authorization clause is an
 20   express exception to the requirement that the document consist ‘solely of the
 21   disclosure.’”).
 22         Applied here, 7-Eleven’s disclosure plainly violates the FCRA’s stand-alone
 23   disclosure requirement. As set forth below, the document not only improperly
 24   includes disclosures for investigative consumer reports, it contains a blanket
 25   authorization allowing 7-Eleven to request information from any person, disclosures
 26   regarding a company called Sterling Talent Solutions and its privacy policy, website
 27   links to the FTC’s summary of FCRA rights, a vague reference to possible, yet
 28
      PLAINTIFF’S RESPONSE IN OPPOSITION
      TO DEFENDANT’S MOTION TO DISMISS          -4-
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 8 of 22 Page ID #:140




  1   unnamed, state statutes, an acknowledgement that employees may be terminated
  2   based on information received, and other extraneous (and thus unlawful) details.
  3         As such, and as explained further below, the Court should deny 7-Eleven’s
  4   Motion to Dismiss.
  5                1.      7-Eleven’s Disclosure unlawfully combines the disclosures for
  6                        consumer reports with the disclosures required for
  7                        investigative consumer reports.
  8         7-Eleven first takes aim at Munoz’s allegations that its Disclosure unlawfully
  9   combines the disclosures required for investigative consumer reports with the
 10   disclosure that must be provided prior to an employer’s obtaining of a consumer
 11   report. According to 7-Eleven, while it admittedly mixed the two disclosures
 12   together, the combination was “‘very limited’ in nature.” (Def. Mot. at 6.) Such
 13   attacks cannot stand.
 14         As an initial matter, the FCRA requires two different types of disclosures for
 15   consumer reports and investigative consumer reports. The Act defines a consumer
 16   report as:
 17         any written, oral, or other communication of any information by a
 18         consumer reporting agency bearing on a consumer's credit worthiness,
 19         credit standing, credit capacity, character, general reputation, personal
 20         characteristics, or mode of living which is used or expected to be used
 21         or collected in whole or in part for the purpose of serving as a factor
 22         in establishing the consumer's eligibility for--
 23         (A) credit or insurance to be used primarily for personal, family, or
 24         household purposes;
 25         (B) employment purposes; or
 26         (C) any other purpose authorized under section 1681b of this title.
 27
 28
      PLAINTIFF’S RESPONSE IN OPPOSITION
      TO DEFENDANT’S MOTION TO DISMISS           -5-
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 9 of 22 Page ID #:141




  1   15 U.S.C. § 1681a(d)(1). On the other hand, an “investigative consumer report” is
  2   defined as:
  3         a consumer report or portion thereof in which information on a
  4         consumer’s character, general reputation, personal characteristics, or
  5         mode of living is obtained through personal interviews with
  6         neighbors, friends, or associates of the consumer reported on or with
  7         others with whom he is acquainted or who may have knowledge
  8         concerning any such items of information. However, such information
  9         shall not include specific factual information on a consumer's credit
 10         record obtained directly from a creditor of the consumer or from a
 11         consumer reporting agency when such information was obtained
 12         directly from a creditor of the consumer or from the consumer.
 13   15 U.S.C. § 1681a(e). Hence, as shown by the plain language of the FCRA, the key
 14   distinction between the two types of reports is that investigative consumer reports
 15   feature the gathering of information through personal interviews. See Kelchner v.
 16   Sycamore Manor Health Center, 305 F.Supp.2d 429, n.2 (M.D. Penn. 2004) (“By
 17   comparison, an investigative consumer report is far more invasive to a consumer's
 18   privacy, and the Act provides special protections to consumers when employers
 19   seeks to procure such reports.”).
 20         Attempts by employers to combine these distinct disclosures into a single
 21   document is nothing new. Rather, for 19 years the FTC has warned employers that
 22   that, in its view, an employer may only combine a “very limited” investigative
 23   consumer report disclosure with a consumer report disclosure to avoid running afoul
 24   of the FCRA’s stand-alone requirement. (See “Advisory Opinion to Willner,” a true
 25   and accurate copy is attached hereto as Ex. A (“[W]e believe that an employer may
 26   combine only a very limited Section [1681d(a)] notice with the general Section
 27
 28
      PLAINTIFF’S RESPONSE IN OPPOSITION
      TO DEFENDANT’S MOTION TO DISMISS          -6-
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 10 of 22 Page ID #:142




   1   [1681b(b)(2)(A)] notice without running afoul of the latter section's requirement that
   2   the required disclosure be in a stand-alone document.”).) As Willner explained:
   3         In the Steer letter, we opined that the employer could also include the
   4         authorization required by Section [1681b(b)(2)(A)(ii)], because the
   5         authorization would contain limited verbiage and would enhance the
   6         Section [1681b(b)(2)(A)(i)] disclosure, rather than detract from it. We
   7         believe that a limited Section [1681d(a)] disclosure would also be
   8         permissible, on the same theory. For example:
   9                A consumer report may be obtained on you for
  10                employment purposes. It may be an "investigative
  11                consumer report" that includes information as to your
  12                character, general reputation, personal characteristics and
  13                mode of living. You have a right to request disclosure of
  14                the nature and scope of the report, which involves
  15                personal interviews with sources such as your neighbors,
  16                friends, or associates.
  17         The first sentence (the general consumer report disclosure for
  18         employers) sets forth the disclosure without elaboration, and the
  19         second and third sentences (the initial investigative consumer report
  20         disclosure) are sufficiently brief and in accord with the first sentence
  21         that   we    would     consider   it    as   emphasizing   the   Section
  22         [1681b(b)(2)(A)(i)] disclosure, and thus be permissible under that
  23         section on the theory set forth in the Steer letter. However, a Section
  24         [1681d(b)] notice setting forth the nature and scope of the
  25         investigation would of necessity be much more detailed and would
  26         likely be held to overshadow [1681b(b)] disclosure in violation of
  27         [1681b(b)(2)(A)(i)]. Therefore, we believe that an employer may
  28
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS             -7-
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 11 of 22 Page ID #:143




   1         combine only a very limited Section [1681d(a)] notice with the
   2         general Section [1681b(b)(2)(A)(i)] notice without running afoul of
   3         the latter section's requirement that the required disclosure be in
   4         a stand-alone document. The surest way for an employer to
   5         comply,      of     course,       would     be    to   provide   the    Section
   6         [1681b(b)(2)(A)] notice and the Section [1681d] notice in separate
   7         documents.
   8   (Ex. A (emphasis added).) As such, to the extent that the Court accepts the FTC’s
   9   conclusion that the mixing of the two types of disclosures is permitted on a limited
  10   basis (despite the fact such guidance violates the plain language of the Act), the FTC
  11   itself has only endorsed a severely restricted combination.
  12         Rather than stay within the FTC’s bounds, 7-Eleven’s Disclosure features
  13   extensive details regarding the nature and scope of any investigation that may be
  14   performed. 7-Eleven’s Disclosure stacks up as follows:
  15
                   7-Eleven’s Disclosure                       Disclosure Approved in Willner
  16
          The report may contain information               A consumer report may be obtained
  17
          from     federal,     state    and    other      on you for employment purposes. It
  18
          agencies,     learning         institutions,     may be an "investigative consumer
  19
          information          service      bureaus,       report" that includes information as to
  20
          past/present employers, and other                your character, general reputation,
  21
          individuals or sources concerning                personal characteristics and mode of
  22
          your character, general reputation,              living. You have a right to request
  23
          personal characteristics, mode of                disclosure of the nature and scope of
  24
          living, work habits and/or credit                the report, which involves personal
  25
          standing. Such information may                   interviews with sources such as your
  26
          include your driving history, your               neighbors, friends, or associates.
  27
          credit    history,     your      education
  28
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS                  -8-
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 12 of 22 Page ID #:144




   1      history, records of military service,
   2      insurance claims involving you,
   3      your criminal history and your
   4      employment history, including the
   5      reasons    for    termination.     The
   6      information contained in the report
   7      may be obtained from private and/or
   8      public record sources, and the
   9      investigation    can   also   involve
  10      personal interviews with sources
  11      such as your current and past
  12      employers, friends, family members
  13      or associates. Information included
  14      in the report will only be requested
  15      when permitted by law and where
  16      such information is substantially
  17      related    to    the    duties     and
  18      responsibilities of the position for
  19      which you are applying. 7-Eleven,
  20      Inc. will not obtain information
  21      about your credit history, credit
  22      worthiness, credit standing, or credit
  23      capacity    unless     permitted    by
  24      applicable State and local law. You
  25      have the right, upon written request
  26      made within a reasonable time after
  27      receipt of this notice, to request
  28
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS            -9-
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 13 of 22 Page ID #:145




   1      disclosure of the nature and scope of
   2      any investigative consumer report
   3      from 7 Eleven, Inc.
   4   (See 7-Eleven Disclosure, a true and accurate copy of which is attached hereto as Ex.
   5   B.) As evidenced by a side-by-side comparison, 7-Eleven’s Disclosure is nearly
   6   three times longer than the disclosure permitted in Willner such that it overshadows
   7   and overwhelms the consumer report disclosure. Compounding the confusion is the
   8   fact that the bulk of this extra information is repeated just below the Disclosure in
   9   the Authorization, which, in turn, states:
  10
             I have carefully read and understand the preceding Disclosure and the
  11
             below Authorization form. In connection with and for the duration of
  12
             my employment (including contract for services) with 7 Eleven, Inc., I
  13
             authorize and understand that investigative background inquires
  14
             and/or consumer report inquires may be made about me to the extent
  15
             permitted by applicable federal, state, and local laws. In connection
  16
             with these inquires, I consent that 7 Eleven, Inc., may obtain
  17
             consumer, criminal, driving, education, employment and other reports
  18
             at any time prior to and/or during my employment to the extent
  19
             permitted by applicable law. These reports may include information as
  20
             to my character, general reputation, personal characteristics, mode of
  21
             living, work habits, credit standing, driving history, credit history,
  22
             education history, military service record, criminal history and
  23
             employment history, including the reasons for termination. Further, I
  24
             understand that, and hereby authorize, 7 Eleven, Inc. to request
  25
             information from various federal, state and other agencies, learning
  26
             institutions, information service bureaus, past/present employers, and
  27
             other individuals or sources which maintain information concerning
  28
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS             - 10 -
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 14 of 22 Page ID #:146




   1         my past activities. These reports may relate to my driving record,
   2         criminal record, credit, civil and other experiences, as well as
   3         information in the files of insurance companies pertaining to claims
   4         involving me.
   5         By electronically signing below, I consent to the preparation of
   6         background reports by Sterling Talent Solutions, and to the release of
   7         such reports to 7-Eleven, Inc. and its designated representatives for
   8         the purpose of assisting 7-Eleven, Inc. in making a determination as to
   9         my employment, promotion, retention, contract assignment or for
  10         other lawful purposes. I authorize, without reservation, any party or
  11         agency contacted by 7-Eleven, Inc. to furnish the above mentioned
  12         information; and also understand that any offer of employment made
  13         by 7-Eleven, Inc. may be revoked if unacceptable information is
  14         found in an investigative background inquiry or consumer report at
  15         any time after my employment has already begun subject to applicable
  16         law.
  17   (See 7-Eleven Disclosure, Ex. B.) Of course, it makes little sense to allow an
  18   employer to pack the authorization with extraneous information that would
  19   otherwise be barred from the disclosure. See Poinsignon v. Imperva, Inc., Case No.
  20   17-cv-05653-EMC, 2018 WL 1709942, at *4 (N.D. Cal. Apr. 9, 2018) (“To permit
  21   in the same disclosure document an authorization loaded up with other fine print
  22   dilutes the force and clarity of the disclosure mandated by the statute.”).
  23         Hence, 7-Eleven’s Disclosure goes well beyond even the permissive rules set
  24   forth in the FTC’s Willner Advisory Opinion. Put simply, any investigative
  25   consumer report disclosure violates the plain language of the Act that the consumer
  26   report disclosure be made “in a document that consists solely of the disclosure.” Yet
  27   even if a “very limited” investigative consumer report disclosure were allowed, as
  28
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS           - 11 -
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 15 of 22 Page ID #:147




   1   suggested by the FTC in Willner, 7-Eleven’s Disclosure still violates the Act because
   2   it is not “very limited”—it contains, inter alia, (repeated) voluminous disclosures
   3   regarding the nature and scope of any investigation that may ultimately be
   4   performed. In short, it is certainly plausible that the inclusion of such extra
   5   disclosures violated the Act’s plain requirement that the consumer report disclosure
   6   “stand-alone”.
   7          Ultimately, 7-Eleven asks that the Court construe such allegations in a light
   8   most favorable to itself. This is of course the opposite of the standard on a Rule 12
   9   Motion. As such, 7-Eleven’s bid for dismissal based on its self-serving conclusion
  10   that the Disclosure “stands-alone” as a matter of law thus falls apart.
  11                   2.     7-Eleven’s Disclosure also improperly includes extraneous
  12                          acknowledgement, statements, and agreements.
  13          7-Eleven next argues that the Complaint’s allegations of additional extraneous
  14   information are permissible under the FCRA because they supposedly make the
  15   disclosure more helpful to applicants. (Def. Mot. at 5-7.) In reality, just the opposite
  16   is true.
  17              “As the FTC has explained, ‘[t]he reason for requiring that the disclosure be
  18   in a standalone document is to prevent consumers from being distracted by other
  19   information side-by-side with the disclosure.’” Case v. Hertz Corp., No. 15-CV-
  20   02707-BLF, 2016 WL 1169197, at *4 (N.D. Cal. Feb. 26, 2016); see also Anderson
  21   v. Wells Fargo Bank, N.A., 266 F.Supp.3d 1175 (D.S.D. 2017) (citation omitted),
  22   (“[A]n employer ‘does create a real risk of harm’ when it uses ‘a disclosure that,
  23   because it is merely one section of a larger document, results in ‘information
  24   overload’ which inhibits a consumer’s ability to agree to a background check with
  25   full knowledge of their rights and the potential consequences.’”); Mix v. Asurion Ins.
  26   Servs. Inc., No. CV-14-02357-PHX-GMS, 2016 WL 7229140, at *5 (D. Ariz. Dec.
  27   14, 2016), reconsideration denied, No. CV-14-02357-PHX-GMS, 2017 WL 131566
  28
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS              - 12 -
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 16 of 22 Page ID #:148




   1   (D. Ariz. Jan. 13, 2017) (“The same is true for a disclosure that, because it is merely
   2   one section of a larger document, results in ‘information overload’ which inhibits a
   3   consumer’s ability to agree to a background check with full knowledge of their rights
   4   and the potential consequences.”)1
   5         Accepting 7-Eleven’s logic would write an exception into the FCRA for an
   6   extraneous information that the employer could show actually helped the applicant
   7   or employee better understand the disclosure. But the Act contains no such
   8   provision. Indeed, “Congress’s express exception to the “solely” requirement,
   9   allowing the disclosure document to also contain the authorization to procure a
  10   consumer report, does not mean that the statute contains other implicit exceptions as
  11   well.” See Syed, 853 F.3d at 501. “[I]n light of Congress’s express grant of
  12   permission for the inclusion of an authorization, the familiar judicial maxim
  13   expressio unius est exclusio alterius counsels against finding additional, implied,
  14   exceptions.” Id. As such, the Court should reject 7-Eleven’s articulation of the law as
  15   a general matter.
  16         And more specifically, 7-Eleven ignores the confusing nature of its extra
  17   provisions. Again, the Disclosure not only contains an authorization for 7-Eleven to
  18   receive information contained in an applicant’s consumer report, it goes beyond that
  19
       1
  20     Not surprisingly, courts across the Country have held that including additional
       extraneous information in an FCRA disclosure runs afoul of the FCRA’s stand-alone
  21   requirement. See Case v. Hertz Corp., No. 15-CV-02707-BLF, 2016 WL 1169197,
  22   at *5 (N.D. Cal. Feb. 26, 2016) (finding information regarding time frames to
       challenge the accuracy, circumstances under which an applicant can receive a report,
  23   state specific disclosures, and an acknowledgement that employment decisions were
  24   non-discriminatory to be sufficient to state a claim); see also Harris v. Home Depot
       U.S.A., Inc., 114 F.Supp.3d 868, 870 (N.D. Cal. 2015) (finding the inclusion of a
  25   liability waiver to be sufficient to state a claim); see also Singleton v. Domino’s
  26   Pizza, LLC, Civil Action No. DKC 11-1823, 2012 WL 245965, at *8 (D. Md. Jan.
       25, 2012) (same); see also Avila v. NOW Health Group, Inc., No. 14 C 1551, 2014
  27   WL 3537825, at *2 (N.D. Ill. July 17, 2014) (“[E]ach form contains information that
  28   is not the disclosure, contrary to the express language of the FCRA”).
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS           - 13 -
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 17 of 22 Page ID #:149




   1   and includes a blanket consent purporting to allow 7-Eleven to receive any
   2   information from any source—even those unlawfully obtained. (See Ex. B, at para. 5
   3   (“Further, I understand that, and hereby authorize, 7 Eleven, Inc. to request
   4   information from various federal, state and other agencies, learning institutions,
   5   information service bureaus, past/present employers, and other individuals or sources
   6   which maintain information concerning my past activities.”).) The Disclosure also
   7   includes information regarding Sterling Talent Solutions, a website link to Sterling’s
   8   privacy policy, and as a reservation of right for 7-Eleven to use other consumer
   9   reporting agencies if it chooses. The Disclosure then provides a link to the FTC’s
  10   summary of rights despite already providing applicants with a copy of the same
  11   summary. Next, the disclosure makes that vague statement that, “State statutory
  12   provisions may also provide additional protections for consumer reports.” (See Ex.
  13   B, para. 4.) This only serves to confuse applicants, who are never provided such
  14   disclosures or altered to their location. (Compl.¶¶ 6, 17.) The Disclosure also
  15   contains an acknowledgment on behalf of the applicant or employee regarding the
  16   revocation of employment and the submission of an applicant’s date of birth to the
  17   consumer reporting agency. Taken as a whole, it is clear that 7-Eleven’s Disclosure
  18   is not contained “in a document that consists solely of the disclosure.”
  19         7-Eleven’s attempt to liken its disclosure to the disclosure in Walker v. Fred
  20   Meyer, Inc., 2018 WL 2455915 (D. Ore. May 7, 2018), appeal docketed, No. 18-
  21   35592 (9th Cir. July 20, 2018) falls short. 7-Eleven’s disclosure contains
  22   substantially more extraneous information than the Fred Meyer disclosure, (compare
  23   7-Eleven Disclosure, Ex. B; with Fred Meyer Disclosure, a true and accurate copy is
  24   attached hereto as Ex. C) including a substantially greater level of detail regarding
  25   the nature and the scope of investigative consumer report disclosure than the
  26   disclosure at issue in Fred Meyer. In any case, Fred Meyer is on appeal and is of
  27   limited precedential value.
  28
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS           - 14 -
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 18 of 22 Page ID #:150




   1         Consequently, the Court should find that Plaintiff has plausibly alleged that
   2   the inclusion of extraneous information in 7-Eleven’s Disclosure violates the
   3   FCRA’s stand-alone provision.
   4         B.     7-Eleven fails to address Munoz’s allegations that the Disclosure is
   5                not “clear and conspicuous.”
   6         Even if 7-Eleven could show that, as a matter of law, its Disclosure “stands
   7   alone” so as to comply with Section 1681b(b)(2)(A)(i)’s mandate that the disclosure
   8   be set forth “in a document that consists solely of the disclosure”, Plaintiff’s claims
   9   still withstand dismissal because the Disclosure was not “clear and conspicuous” as
  10   the Act requires.
  11         The question of whether a disclosure is “clear and conspicuous” is an
  12   additional requirement under the FCRA and is separate and distinct from the
  13   question of whether the document consists “solely” of the disclosure. See Syed, 853
  14   F.3d at 503 (“Because the question of whether a disclosure is ‘clear and
  15   conspicuous’ within the meaning of Section 1681b(b)(2)(A)(i) is separate from the
  16   question of whether a document consists ‘solely’ of a disclosure, and is not one that
  17   is before us here, we decide only that including the waiver violated the statute’s
  18   ‘solely’ requirement.”). This Court has previously opined that, “[t]he FCRA does not
  19   define the term ‘clear and conspicuous’ and there is no binding authority interpreting
  20   the term as used in § 1681b. Other courts have interpreted a ‘clear and conspicuous’
  21   disclosure to mean ‘in a reasonably understandable form and readily noticeable to
  22   the consumer.’” Newton v. Bank of America, Case No. 2:14-cv-03714-CBM-MRWx,
  23   2015 WL 10435907, at *7 (C.D. Cal. May 12, 2015) (quoting Rossman v Fleet Bank
  24   (R.I.) Nat. Ass’n, 280 F.3d 384, 390 (3d Cir. 2002)). Likewise, “[a]n accurate
  25   disclosure of unclear information defeats the consumer's ability to review the credit
  26   file, eliminating a consumer protection procedure established by Congress under the
  27
  28
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS           - 15 -
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 19 of 22 Page ID #:151




   1   FCRA.” Gillespie v. Equifax Information Services, L.L.C., 484 F.3d 938, 941 (7th
   2   Cir. 2007) (analyzing the term “clear” within the context of the FCRA).
   3         Here, 7-Eleven’s disclosure is not presented in a “reasonably understandable
   4   form.” Just the opposite is true: 7-Eleven’s disclosure is written in fine print and
   5   contains needlessly confusing and repetitious statements, acknowledgments, and
   6   agreements that only serve to confuse the average consumer. 7-Eleven begins its
   7   disclosure by stating, “7-Eleven may order a ‘consumer report,’ ‘background report’
   8   or ‘investigative consumer report.’” (See Ex. B.) Yet, throughout the rest of the
   9   disclosure it primarily refers to “the report.” (See, e.g., Ex. B.) Applicants are left
  10   guessing as to whether a particular statement refers to a “consumer report” or an
  11   “investigative consumer report.” To be clear, this is not a distinction without a
  12   difference. As an example, the disclosure states in part,
  13         The report may contain information from federal, state and other
  14         agencies,    learning    institutions,      information   service   bureaus,
  15         past/present employers, and other individuals or sources concerning
  16         your character, general reputation, personal characteristics, mode of
  17         living, work habits and/or credit standing. Such information may
  18         include your driving history, your credit history, your education
  19         history, records of military service, insurance claims involving you,
  20         your criminal history and your employment history, including the
  21         reasons for termination. The information contained in the report
  22         may be obtained from private and/or public record sources, and
  23         the investigation can also involve personal interviews with sources
  24         such as your current and past employers, friends, family members
  25         or associates.
  26   (See Ex. B (emphasis added).) The use of the term “the report”—absent any
  27   specification—is problematic in this context because the FCRA places restrictions
  28
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS               - 16 -
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 20 of 22 Page ID #:152




   1   upon where specific factual information regarding a consumer’s credit can be
   2   obtained via investigative interviews. See 15 U.S.C. § 1681a(e).
   3         And again, adding to the confusion is 7-Eleven’s needless repetition of
   4   phrases and descriptions of the nature of the report throughout the Disclosure and
   5   authorization.
   6         7-Eleven’s silence with respect to the unclear and inconspicuous nature of its
   7   Disclosure speaks volumes. The simple truth is that Munoz has pleaded facts which,
   8   if proven true, would demonstrate that 7-Eleven violated the FCRA’s background
   9   check disclosure requirements by presenting applicants and employees with
  10   documents that were not “clear and conspicuous” as required. As such, Defendant’s
  11   Motion to Dismiss should be denied on these additional grounds as well.
  12         C.     Given that Plaintiff has stated a valid claim under the FCRA, his
  13                UCL claim should remain as well.
  14         Plaintiff’s UCL claim is admittedly derivative of his FCRA claims. As such, it
  15   should survive dismissal for all of the reasons set forth above.
  16   IV.   CONCLUSION
  17         7-Eleven’s disclosure is loaded with unnecessary provisions and fails to
  18   provide any clarity to applicants at all. As a result, the disclosure runs afoul of the
  19   FCRA’s stand-alone and clear and conspicuous requirements and plaintiff has stated
  20   a plausible claim for relief. Defendant’s motion to dismiss should be denied and the
  21   case should move forward as a result.
  22
  23                                           Respectfully submitted,
  24
  25   Dated: August 8, 2018                   Edwardo Munoz, individually and on behalf
                                               of all others similarly situated,
  26
  27                                     By:    /s/ Patrick H. Peluso
                                               One of Plaintiff’s Attorneys
  28
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS            - 17 -
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 21 of 22 Page ID #:153




   1                                        Mike Arias (CSB #115385)
   2                                         mike@asstlawyers.com
                                            Alfredo Torrijos (CSB #222458)
   3                                         alfredo@asstlawyers.com
                                            ARIAS SANGUINETTI WANG &
   4                                              TORRIJOS, LLP
                                            6701 Center Drive West, 14th Floor
   5                                        Los Angeles, California 90045
                                            Telephone: (310) 844-9696
   6                                        Facsimile: (310) 861-0168

   7                                        Steven L. Woodrow*
                                              swoodrow@woodrowpeluso.com
   8                                        Patrick H. Peluso*
                                              ppeluso@woodrowpeluso.com
   9                                        Taylor T. Smith*
                                              tsmith@woodrowpeluso.com
  10                                        WOODROW & PELUSO, LLC
                                            3900 East Mexico Avenue, Suite 300
  11                                        Denver, Colorado 80210
                                            Telephone: (720) 213-0675
  12                                        Facsimile: (303) 927-0809

  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS       - 18 -
Case 2:18-cv-03893-RGK-AGR Document 31 Filed 08/08/18 Page 22 of 22 Page ID #:154



                                CERTIFICATE OF SERVICE
   1
             The undersigned hereby certifies that a true and correct copy of the above
   2
       titled document was served upon counsel of record by filing such papers via the
   3
       Court’s ECF system on August 8, 2018.
   4
                                                    /s/ Patrick H. Peluso
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       PLAINTIFF’S RESPONSE IN OPPOSITION
       TO DEFENDANT’S MOTION TO DISMISS         - 19 -
